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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v.
Crim. No. 17-201-01 (AB.])
PAUL J. MANAFORT, JR.,

vVV\/\./`/V

Defendant.

DEFENDANT PAUL J. MANAFORT, JR.’S WAIVER OF HIS
APPEARANCE AT THE NOVEMBER 30 2018 SCIIEDULING CONFERENCE
…

In response to the Court’s November 28, 2018 minute order setting a scheduling
conference in the captioned matter, I, Paul J. Manafort, Jr., submit this written waiver of
my right to appear at the scheduling conference on Novernber 30, 2018.

I have been advised by my counsel of my right to be present at all stages of these
proceedings and, with a full and complete understanding of my rights, have agreed that my
interests will be represented at the proceeding described by the presence of my attorneys
I waive my right to appear because of the time involved in having the U. S. Marshal Service

transport me to and from the courthouse

Dated: November 28, 2018 Respectfully submitted,

/Z///%//;/

Paul J dianafoa/J/

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